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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



SMARTMATIC USA CORP.,
SMARTMATIC INTERNATIONAL
HOLDING B.V., and SGO
CORPORATION LIMITED,

                          Plaintiffs,
                     v.                       Case No. 22-cv-0098-WMW-JFD
MICHAEL J. LINDELL and MY
PILLOW, INC.,

                          Defendants.


                  NOTICE OF INTENT TO REQUEST REDACTION

      Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and

SGO Corporation Limited (collectively, “Smartmatic”), by and through their undersigned

counsel, hereby notifies the Court, court reporter/transcriber, and counsel that in

accordance with the procedure set forth in Local Rule 5.5, Redaction of Transcripts,

Smartmatic intends to request redactions to the Transcript of Motions Hearing held on

October 11, 2023 before Magistrate Judge John F. Docherty, filed on October 30, 2023

[Doc. No. 243].




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Dated: November 6, 2023              Respectfully submitted,

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